United States Courts
IN THE UNITED sTATEs DISTRICT COURT S°uthemmst,ict°mxas
FoR THE soUTHERN DISTRICT oF TEXAS FlLED

HOUSTON DIVISION MAR 9 0 ‘ZQ‘UA

JoE SHIELDS Davld.l. Bradley, clerk of court

Plaintiff
vs. CIVIL ACTION No. 3:18-CV-00150
GAWK INC., SCOTT KETTLE

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)
)
)
INDIVIDUALLY AND KENNEDY WEAVER )
INDIVIDUALLY )
)
Defendants )

lSt AMENDED MOTION FOR SUMMARY JUDGMENT AS TO DEFENDANT KENNEDY
WEAVER

Comes now Plaintiff Joe Shields and respectfully requests that
this court grant Plaintiff's Motion for Summary Judgment as to the
Defendant Kennedy Weaver.

The Defendant Kennedy Weaver (hereinafter “Defendant Weaver”)
has filed an appearance with the Court but has failed to plead or
otherwise defend. Consequently, all of 'the facts in Plaintiff's
complaint must be taken as true per FRCP 56(e)(2) and a judgment
must be entered against the Defendant Weaver pursuant to FRCP
56(e)(3).

The Telephone Consumer Protection Act (hereinafter “TCPA”)
prohibits the making of artificial or prerecorded Voice calls to
cell phone numbers without prior express consent of the called
party or an emergency purpose. See 47 U.S.C. §227(b)(l)(A)(iii) and

47 CFR §64.1200(a)(l)(iii). Texas State Law also prohibits the

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making of robocalls to cell phone numbers without prior express
consent of the called party. See Texas Business and Commerce Code
(hereinafter “TB&CC”) §305.053. ln addition, both statutes prohibit
telemarketing calls to telephone numbers on the National do-not-
call list without prior express written consent of the called
party. See 47 U.S.C. §227(c)(3)(F), 47 C.F.R. §64.1200(€)(2) and
TB&CC §305.053.

Plaintiff’s cell phone number 281-704-8697 was assigned to him
by his carrier on July l6m, 2014. Plaintiff has never provided
prior express consent to any entity to make robocalls to his cell
phone number. Further, Plaintiff’s cell phone number was submitted
to the National do-not-call list within 24 hours after being
assigned the 281-704-8697 telephone number. See Exhibit #l.
Plaintiff has never provided prior express written consent to any
entity to make telemarketing calls to his 281-704-8697 cell phone
number.

On or about February lBUb 2018 at 07:31 p.m. the Plaintiff's
cell phone rang' not once but twice. Plaintiff responded. to the
multiple rings and noticed a “missed call” and a “new voice mail
call” status indicator on his cell phone. See Exhibit #2 Robocall
Transcript and Caller Identification.

Upon further investigation, the Plaintiff determined that the
robocall was an advertisement for the services of the Defendant

Weaver. Apparently, Defendant Weaver was running one of the many

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questionable “we buy houses” business that had sprouted up after
Hurricane Harvey had flooded hundreds of thousands of homes in
Harris County and the surrounding area.

The telephone number transmitted by caller ID 847-258-9991 at
the time the robocall was made was assigned to the Defendant Gawk
Inc. Obviously, the Defendant Weaver had hired Gawk Inc. to make
robocalls on his behalf, which targeted telephone numbers in Harris
County and the surrounding area including Plaintiff’s cell phone
number 281-704-8697. The robocall asked interested parties to call
the telephone number 281-236-9343, which is a telephone number that
was assigned to the Defendant Weaver at the time the robocall was
made.

Plaintiff called the telephone number 281-236-9343 on February
l4m, 2018 at 10:38 a.m. and spoke with the Defendant Weaver about
the robocall Plaintiff had received. ln the recorded conversation
Defendant Weaver stated “mit was a recorded message from me yes.”
and “mit is the way we do marketing for our business.” Accordingly,
the Defendant Weaver made no attempt to scrub telephone numbers on
the National do-not-call list or cell phone numbers from the
robocall list.

Consequently, Plaintiff requests that the Court find that the
Defendant Weaver is liable to the Plaintiff in the statutory sum of
$2,000.00 for counts III, IV, VII and VIII found in Plaintiff’s

Original Complaint. Further, due to Defendant Weavers willful and

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knowing behavior, Plaintiff requests that the Court treble the
statutory amount tO $6,000.00.

Additionally, under the TCPA and TB&CC, Plaintiff is entitled
to and requests injunctive relief as a nwtter of law to prevent
Defendant Weaver from engaging in similar behavior in the future.

Plaintiff Joe Shields respectfully requests judgment for the
Plaintiff against the Defendant Weaver for the sum of $6,000.00 and
an injunction against the Defendant Weaver prohibiting the

Defendant Weaver from engaging in similar behavior in the future.

jr am

Joe Shields

Plaintiff Pro Per

16822 Stardale Lane
Friendswood, Texas 77546
Home: 281-482~7603

Respectfully submitted,

Declaration

l declare under penalty of perjury that the foregoing is true

and correct. Executed on 3[£0[/£ .
a /M

Joe §hields

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